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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,           )
                                        )
             Plaintiffs,                )
                                        )
vs.                                         No. 1:17-cv-00365-DAE-AWA
                                        )
                                        )
GRANDE COMMUNICATIONS                   )
NETWORKS LLC,                           )
                                        )
             Defendant.
                                        )


         DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
               RESPONSE TO PLAINTIFFS’ MOTION TO STRIKE
      PORTIONS OF DR. GEOFF COHEN’S SUPPLEMENTAL EXPERT REPORT
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       Plaintiffs ask the Court to strike certain portions of Dr. Cohen’s supplemental report—

Sections VI, VII, VIII, and X—regarding a hard drive of files that Rightscorp, Plaintiffs’

litigation consultant, claims to have downloaded from users of Grande’s network. Plaintiffs do

not argue that Dr. Cohen’s supplemental opinions are untimely because he should have

supplemented earlier. Indeed, Grande repeatedly made clear to Plaintiffs that Grande was

waiting to serve this report until Plaintiffs finished producing Rightscorp evidence, which did not

occur until February 27, 2019. As such, Plaintiffs contend that Dr. Cohen’s challenged opinions

are untimely solely because they should have been included in his initial rebuttal report.

       Plaintiffs’ argument is baseless because Plaintiffs’ technical expert—whose opinions Dr.

Cohen was rebutting—did not rely on or analyze the hard drive files in her opening report.

Furthermore, Plaintiffs produced an array of additional evidence regarding the hard drive files

after Dr. Cohen served his initial report, and his supplemental opinions directly address and

respond to this later-produced evidence.

       In light of the Court’s summary judgment rulings, the hard drive files—which Plaintiffs

contend corroborate Rightscorp’s alleged detections of copyright infringement—will be central

at trial. Prohibiting Grande from offering expert testimony on this evidence would serve no

legitimate purpose. Moreover, Plaintiffs lack any plausible claim of prejudice, given that (1) Dr.

Cohen is addressing Plaintiffs’ own evidence, which they first relied on in response to Grande’s

motion for summary judgment; (2) Grande is ready and willing to produce Dr. Cohen for

deposition regarding his supplemental opinions; and (3) the Court has not yet set a trial date or

scheduled argument on the parties’ pending Daubert motions.

       For these reasons, as discussed in detail below, the Court should deny Plaintiffs’ motion




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to strike.1

  I.    Dr. Cohen’s challenged opinions are proper and timely under Rule 26(e).

        Dr. Cohen’s challenged opinions regarding the hard drive files are proper supplemental

opinions because (1) Plaintiffs’ expert did not analyze this evidence in her opening report, and

instead first did so in a subsequent report; and (2) the opinions also respond to evidence

regarding the hard drive files that Plaintiffs produced after Dr. Cohen served his initial report.

        A.     Dr. Cohen had no reason to address the hard drive files
               when he served his initial rebuttal report.

        Plaintiffs contend that Dr. Cohen should have offered any opinions regarding the hard

drive files in his August 17, 2018 rebuttal report. However, Plaintiffs ignore that their technical

expert—whose opinions Dr. Cohen was rebutting—did not rely on the hard drive files in her

opening report. See generally Frederiksen-Cross Report (ECF No. 177-1). To be absolutely

clear, Ms. Frederiksen-Cross did not cite to the hard drive files anywhere in her report or include

them in her list of “material received or reviewed.”2 See id. & Ex. B thereto. Ms. Frederiksen-

Cross did not attempt to analyze the contents of the hard drive, or otherwise attempt to connect

specific Rightscorp notices to specific downloaded files.3 See generally id.




1 Grande also questions the timeliness of Plaintiffs’ objection, raised more than a month after Dr.
Cohen served his supplemental report. In Grande’s view, the spirit of the Scheduling Order—if
not the letter—is that any challenge to an expert report should be made within 14 days of service
of the report or the expert’s deposition, whichever is later. See ECF No. 66, ¶ 5. When Grande
raised this issue, Plaintiffs argued that they are moving to strike within a reasonable time.
2 The relevant bates range for the hard drive files is RC-D_01350636–01410446.
3 The parties’ experts agree that Rightscorp’s system has entirely separate processes for (1)
generating and transmitting notices of alleged copyright infringement and (2) downloading
allegedly infringing files from individual BitTorrent users. Rightscorp first generates and sends
a notice of alleged infringement to an internet service provider, and then runs an entirely separate
process that attempts to download the file. See Frederiksen-Cross Report, ¶¶ 45-46 (ECF No.
177-1). On summary judgment, Plaintiffs argued for the first time that the hard drive files—the
product of the second step—corroborate the notices generated in the first step.


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       As a result, Dr. Cohen did not conduct any detailed analysis of the hard drive files in his

rebuttal report. Instead, like Ms. Frederiksen-Cross, Dr. Cohen focused on the functionality of

Rightscorp’s software process for conducting targeted downloads (SampleIt2), pointing out

various deficiencies in how it operates. Cohen Report, ¶¶ 54, 85, 90, 168 (ECF No. 232-1). At

the time, Grande believed that Plaintiffs did not intend to rely on the hard drive files as evidence

of infringement at all, because Plaintiffs also had not identified this evidence in response to

Grande’s interrogatories seeking Plaintiffs’ evidence of direct copyright infringement. See Sony

Pls.’ Obj. to 2nd Interrogs. at 1-8 (ECF No. 112-2).

       After Grande moved for summary judgment, however, Plaintiffs apparently determined

that they needed to rely on the hard drive files to prove their case, and therefore served another

report from Ms. Frederiksen-Cross. This report, styled as “rebuttal” to Dr. Cohen’s rebuttal,

contained new analysis and opinions that for the first time addressed the hard drive files,

including her new opinion that the hard drive contains one or more copies of each copyrighted

work at issue in this case.4 See, e.g., Frederiksen-Cross Rebuttal Report, ¶¶ 13, 15, 36, 43, 57

(ECF No. 177-3). Obviously, Ms. Frederiksen-Cross would not have needed to address the hard

drive evidence in a subsequent report if she had already opined on it in her opening report.5

       In short, as Dr. Cohen explains in his supplemental report, he had no reason to address

the hard drive files in his initial rebuttal to Ms. Frederiksen-Cross. See ECF No. 272-1 at ¶ 11.

The hard drive evidence only became significant once Plaintiffs relied on the hard drive files on

summary judgment to legitimize Rightscorp’s notices, served Ms. Frederiksen-Cross’s rebuttal




4 Grande filed a motion to strike Ms. Frederiksen-Cross’s rebuttal report as untimely and as
improper rebuttal. See Grande’s Mot. to Strike “Rebuttal” Expert Report (ECF No. 176).
5 As noted in the following section, Ms. Frederiksen-Cross also relied on evidence regarding the
hard drive files that was not available to Dr. Cohen when he prepared his rebuttal report.


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report addressing the hard drive files, and produced additional evidence purporting to show that

the hard drive files corroborate Rightscorp’s notices. See id. For this reason alone, the Court

should reject Plaintiffs’ argument that Dr. Cohen’s challenged opinions are untimely.

       B.      Dr. Cohen’s challenged opinions directly respond to evidence
               produced by Plaintiffs after he submitted his initial rebuttal report.

       In addition to Ms. Frederiksen-Cross’s rebuttal report, Plaintiffs produced a raft of other

evidence related to the hard drive files after Dr. Cohen served his initial expert report. Plaintiffs

did not complete this document production until February 27, 2019, and Grande then promptly

served Dr. Cohen’s supplemental report on March 8, 2019.

       This later-produced evidence includes the September 11, 2018 Declaration of Jeremy

Landis, an RIAA employee, who used an audio fingerprinting service to attempt to match the

hard drive files to the copyrighted songs at issue in this case. See ECF No. 172-12. Ms.

Frederiksen-Cross also purported to rely on this evidence in her rebuttal report. See Frederiksen-

Cross Rebuttal Report, ¶¶ 13, 21, 27–28 (ECF No. 177-3). Before submitting the Landis

Declaration in response to Grande’s motion for summary judgment, Plaintiffs had not indicated

any intention to rely on evidence from Mr. Landis (or more broadly, RIAA) regarding audio

fingerprinting, nor did Ms. Frederiksen-Cross mention any such evidence in her opening report.

Dr. Cohen’s challenged opinions respond to this evidence by showing that Mr. Landis and

Plaintiffs mischaracterize the contents of the hard drive (see, e.g., Cohen Supp. Report, ¶¶ 59–78

(ECF No. 272-1)), and that Rightscorp’s system remains fundamentally unreliable even if Mr.

Landis’s testimony is credited. See, e.g., id. at ¶¶ 120–133.

       On summary judgment, Plaintiffs also offered two declarations from Gregory Boswell,

Rightscorp’s computer programmer, regarding the hard drive files. See ECF No. 173-79, 209-1.

These declarations were necessary because Plaintiffs otherwise had no evidence regarding when,



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how, or from which Grande IP addresses Rightscorp allegedly obtained these files. See Grande’s

Reply ISO Mot. for Summ. J. at 11–13 (ECF No. 201). By showing that the hard drive files

paint a distorted and misleading picture of the reliability of Rightscorp’s system, Dr. Cohen’s

challenged opinions are directly responsive to this evidence.

       Additionally, in response to Grande’s pending motion for sanctions, Plaintiffs submitted

further declarations from Mr. Boswell and Ms. Frederiksen-Cross, which address whether and to

what extent Rightscorp obtains, stores, and reviews certain categories of BitTorrent data. See

Boswell Decl., ¶ 6 (ECF No. 253-1); Frederiksen-Cross Decl., ¶¶ 28-34 (ECF No. 254-1). This

information is highly relevant to whether the hard drive files substantiate Rightscorp’s notices of

alleged infringement. For example, as Dr. Cohen explains, Rightscorp obtained yet disregarded

“choke” data, which would result in Rightscorp generating notices of alleged infringement for

BitTorrent users who were expressly refusing to share any files. See Cohen Supp. Report, ¶¶

102–03 (ECF No. 272-1). This is critical context for evaluating the hard drive files, which do

not show how often Rightscorp failed to download a file after sending Grande a notice of alleged

infringement. Id. at ¶¶ 120–33.

       Finally, on February 27, 2019, Plaintiffs produced a Rightscorp spreadsheet, which

Plaintiffs represent contains “additional data concerning the provenance of the audio files.”6 See

Pls.’ Resp. to Mot. for Sanctions at 9 (ECF No. 253). However, it is unclear what information is

set out in certain columns, and the spreadsheet itself provides no information about the origin of

the data (e.g., what Rightscorp database the data came from, whether the database still exists, or




6 Plaintiffs’ characterization of the hard drive files as “audio files” is inaccurate. In analyzing
the contents of the hard drive, Dr. Cohen identified more than 1,000 files that are images or zip
files, which Rightscorp’s system should not have downloaded if it operated as claimed. See
Cohen Supp. Report, ¶¶ 60–62 (ECF No. 272-1).


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how the database was populated).7 See Cohen Supp. Report, ¶ 4 (ECF No. 272-1).

        As a result, Plaintiffs have agreed to produce Mr. Boswell for a second deposition to

testify about the content of the spreadsheet. And in view of the other evidence discussed

above—all produced after Mr. Boswell’s first deposition—Plaintiffs have agreed that Grande

may examine Mr. Boswell about the hard drive files generally. Given that Plaintiffs agree that

Grande is entitled to depose Mr. Boswell again about the hard drive files, Plaintiffs can hardly

claim that Dr. Cohen’s supplemental expert opinions on the very same subject are untimely.

        In sum, the challenged portions of Dr. Cohen’s supplemental report are directly

responsive to evidence and arguments that Plaintiffs presented after he served his initial report.

Standing alone—and especially in combination with Ms. Frederiksen-Cross’s failure to rely on

the hard drive evidence in her opening report—this provides more than sufficient grounds for Dr.

Cohen to offer his challenged opinions in a supplemental report.

 II.    Plaintiffs offer no legitimate basis for striking Dr. Cohen’s supplemental opinions.

        Even if the Court were to conclude that the challenged portions of Dr. Cohen’s

supplemental report are untimely, the Court should still deny Plaintiffs’ motion to strike. Courts

consider the following four factors in deciding whether to strike an untimely expert disclosure:

“(1) the explanation for the failure to identify the witness; (2) the importance of the testimony;

(3) potential prejudice in allowing the testimony; and (4) the availability of a continuance to cure

such prejudice.” Betzel v. State Farm Lloyds, 480 F.3d 704, 707 (5th Cir. 2007); see also Fed. R.

Civ. P. 37(c)(1) (untimely evidence should not be excluded if the untimeliness was substantially



7 If—as Dr. Cohen suspects, without fully understanding its content—the spreadsheet contains
little additional information regarding the hard drive files, that itself is proper grounds for
supplementation. This further demonstrates that Rightscorp failed to maintain any evidentiary
record to show that the hard drives files are what Plaintiffs say they are—i.e., files downloaded
from particular Grande IP addresses at specified points in time.


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justified or harmless). Contrary to Plaintiffs’ claims, each of these four factors clearly weighs

against exclusion. See id. at 708 (exclusion of untimely expert evidence is a disfavored remedy).

       First, as detailed in Section I above, Dr. Cohen’s challenged opinions regarding the hard

drive files were not included in his initial report because Ms. Frederiksen-Cross did not rely on

the hard drive files in her opening report, and these opinions also respond to previously

unavailable evidence. Furthermore, when Grande served Dr. Cohen’s initial report and moved

for summary judgment, Plaintiffs had not identified the hard drive files in response to Grande’s

interrogatories seeking Plaintiffs’ evidence of direct copyright infringement. In Grande’s view,

Plaintiffs’ reliance on the hard drive files to corroborate or legitimize Rightscorp’s notices was

an entirely new liability theory first articulated in response to Grande’s motion for summary

judgment. See ECF No. 201 at 14-15.

       Although the Court implicitly rejected Grande’s summary judgment argument that the

hard drive files should therefore be excluded, it does not follow that Grande should be prevented

from serving a supplemental expert report regarding this evidence. In fact, the opposite is true—

since the Court allowed Plaintiffs to rely on the hard drive evidence and their new liability

theory, Grande should be permitted to respond with Dr. Cohen’s supplemental opinions.

       Second, there is no question that Dr. Cohen’s supplemental opinions regarding the hard

drives files are critically important. Based on the evidence regarding how often Rightscorp

attempted to download infringing files from Grande IP addresses, Dr. Cohen opines that if

Rightscorp’s notices were accurate, then the hard drive should contain vastly more files than

Rightscorp actually obtained.8 Cohen Supp. Report, ¶ 41–57 (ECF No. 272-1). This is




8 In expressing the opinions discussed herein, Dr. Cohen relies on various different assumptions
about the origin and nature of the hard drive files. Grande’s summary of these opinions is not


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potentially explained by a series of different defects in Rightscorp’s system that would cause

Rightscorp to transmit a notice of alleged infringement when the target IP address was not

actually offering to share the song at issue. See, e.g., id. at ¶¶ 120–133.

       Additionally, Dr. Cohen observes that over 1,000 of the files are not even music, and that

the hard drive is made up mostly of duplicate files because Rightscorp would download the same

file from the same IP address over and over, up to more than a thousand times. Id. at ¶¶ 60–62,

65. After removing duplicates and limiting the files to the copyrighted songs at issue in this

case, Dr. Cohen concludes that the hard drive files ultimately relate to only several hundred

Grande IP addresses over nearly two years—a far cry from the “rampant copyright infringement”

Plaintiffs accuse Grande of perpetrating. Id. at ¶ 72.    These are just examples—taken together,

the challenged portions of Dr. Cohen’s report are a damning indictment of Rightscorp’s ability to

accurately detect offers to share copies of copyrighted songs.

       Clearly, Grande would be severely prejudiced if it were prohibited from offering these

opinions at trial, given the central importance of the hard drive files to the Court’s summary

judgment rulings. See, e.g., Moore v. Hernandez, No. 2:17-cv-531, 2018 WL 2670403, at *3

(E.D. Tex. Mar. 6, 2018) (this factor “weigh[ed] strongly” against exclusion where the evidence

was directly relevant to certain elements of the plaintiff’s claim). There is no question that at

trial, Plaintiffs intend to rely on the hard drive files and other related evidence not available to

Dr. Cohen when he prepared his initial report, including testimony from Mr. Boswell about the

files, testimony from Mr. Landis about audio matching, and the opinions expressed in Ms.

Frederiksen-Cross’s “rebuttal” report. It would be extremely and unfairly punitive—not to




intended to convey all relevant assumptions and caveats, and should not be construed as a waiver
of Grande’s right to dispute any issue of fact.


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mention contrary to the entire notion of the search for truth—to prohibit Grande from offering

Dr. Cohen’s supplemental opinions in response to this evidence.

       Third, there is no undue prejudice to Plaintiffs in permitting Dr. Cohen to offer his

supplemental opinions. Dr. Cohen’s challenged opinions concern evidence that has been in

Plaintiffs’ possession since before the inception of this case—evidence that Plaintiffs intend to

offer in support of their affirmative case against Grande, and that their technical expert has

already addressed. Grande also notified Plaintiffs of a potential supplemental report regarding

the hard drive files during Dr. Cohen’s first deposition. Cohen Dep. Tr. 141:4–147:12 (Ex. 1). It

is therefore curious that Plaintiffs suggest they are prejudiced because they may need to offer

additional expert testimony in response.9 See Moore, 2018 WL 2670403, at *3 (denying motion

where movant failed to “point to any specific prejudice that could not be remedied by, among

other things, additional deposition hours and vigorous cross examination”).

       Furthermore, as soon as Plaintiffs raised this issue, Grande affirmed that it would produce

Dr. Cohen for deposition regarding his supplemental opinions, and asked Plaintiffs if they

wished to proceed with scheduling the deposition. Plaintiffs declined to say yes or no, evidently

deciding that scheduling the deposition would undermine their claims of prejudice (while also

not wanting to lose the opportunity to depose Dr. Cohen again).10 In any event, because

Plaintiffs do not challenge certain portions of Dr. Cohen’s supplemental report, Plaintiffs may

seek to depose Dr. Cohen again no matter what. These facts certainly weigh against excluding




9 Plaintiffs have not asked if Grande would consent to Plaintiffs serving an additional expert
report in rebuttal to Dr. Cohen’s supplemental opinions. Plaintiffs did not even object to Dr.
Cohen’s supplemental report until over a month after it was served, at which time any such
“rebuttal” was already untimely. See Scheduling Order, ¶ 2 (ECF No. 66).
10 It also appears that Plaintiffs also desire to leave the issue of a second deposition open to
support their argument that a subsequent Daubert motion would be timely.


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Dr. Cohen’s challenged opinions on grounds of any undue prejudice or burden.

       Finally, the timing of Dr. Cohen’s supplemental report is the direct result of Plaintiffs’

deficient and dilatory production of documents. Grande intended to serve this supplemental

report months ago, but was repeatedly delayed as Grande learned of additional relevant

documents that had not been produced (from RIAA, in connection with depositions in early

December, and from Rightscorp, in connection with earlier depositions and Plaintiffs’ response

to Grande’s motion for evidentiary sanctions). See, e.g., Jan. 11, 2019 Email from R. Brophy

(Ex. 2); Feb. 22, 2019 Email from R. Brophy (Ex. 3). Grande promptly served Dr. Cohen’s

supplemental report shortly after Plaintiffs remedied these deficiencies in late February. In short,

Plaintiffs could have had Dr. Cohen’s supplemental report months ago, and the only reason they

did not is the deficiencies in their own document production.

       Fourth, and finally, the Fifth Circuit has “emphasized that continuance, not exclusion, is

the preferred means of dealing with a party’s attempt to designate a witness out of order or offer

new evidence.” EEOC v. Gen. Dynamics Corp., 999 F.2d 113, 116 (5th Cir. 1993); Betzel, 480

F.3d at 708 (same). Here, a continuance is unnecessary because the Court has not set a trial date.

Additionally, the Court has yet to schedule a hearing on the parties’ pending Daubert motions.

Grande will produce Dr. Cohen for deposition with dispatch as soon as Plaintiffs so request, and

there is no reason to believe that any response from Plaintiffs to Dr. Cohen’s supplemental report

would delay proceedings in this matter significantly, if at all. This factor, like all the others,

therefore weighs against excluding Dr. Cohen’s challenged opinions.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ Motion to Strike.




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Dated: April 30, 2019


                                             Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on April 30, 2019, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                    /s/ Richard L. Brophy




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